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8

9                          UNITED STATES DISTRICT COURT
10                       SOUTHERN DISTRICT OF CALIFORNIA
11
     STAY WAVY, INC., a Massachusetts                Case No. '20CV0776 CAB BLM
12   Corporation
13                              Plaintiffs,         COMPLAINT
            v.
14

15   RICHER POORER LLC, a Delaware
     Limited Liability Company; and
16   URBAN OUTFITTERS, INC., a
     Delaware Corporation; URBN US Retail
17
     LLC, a Pennsylvania Limited Liability
18
     Company; NORDSTROM, Inc., a
     Washington Corporation,
19   ALTERNATIVE APPAREL, Inc., a
     Delaware Corporation and
20   DEFENDANTS DOES 1-10
21
                             Defendants.

22

23
              COMPLAINT FOR TRADEMARK INFRINGEMENT, FALSE
             DESIGNATION OF ORIGIN, CONTRIBUTORY TRADEMARK
24                INFRINGEMENT AND UNFAIR COMPETITION
25

26
           Plaintiff Stay Wavy, Inc., a Massachusetts corporation (“Stay Wavy” or

27
     “Plaintiff”), complains and alleges Defendants Richer Poorer LLC, Urban Outfitters,

28
     Inc., URBN Holding LLC, Nordstrom, Inc., Alternative Apparel, Inc. (Richer Poorer


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1    LLC is referred to herein as “Richer Poorer,” Urban Outfitters, Inc. and URBN Holding
2    LLC is collectively referred to herein as “Urban Outfitters,” Nordstrom, Inc. is referred
3    to herein as “Nordstrom,” Alternative Apparel, Inc. is referred to herein as “Alternative
4    Apparel” and Richer Poorer, Urban Outfitters, Nordstrom, and Alternative Apparel are
5    collectively referred to herein as “Defendants”), as follows:
6                                NATURE OF THE DISPUTE
7          1.     This action arises from Defendants’ repeated, willful, and egregious
8    misappropriation of Stay Wavy’s registered trademark (the “Stay Wavy Trademark”)
9    which is protected under U.S. Trademark Registration No. 4,708,321 (the “Stay Wavy
10   Registration”), a copy of which is presented herein as Exhibit A. Despite being aware
11   of Stay Wavy’s exclusive trademark rights, Defendants nevertheless have repeatedly
12   infringed these rights by selling products that are identical to the type of products that
13   are covered under the Stay Wavy Trademark Registration, including socks, and that
14   bear the Stay Wavy Registration (the “Infringing Products”).
15         2.     Urban Outfitters’ advertising, display, and sale of the Infringing Products
16   (“Urban Outfitters’ Conduct”) constitutes direct trademark infringement of the Stay
17   Wavy Registration. Such infringement is willful and intentional as the Stay Wavy
18   Trademark registered on March 24, 2015 (the “Registration Date”) and Urban
19   Outfitters’ Conduct commenced after the Registration Date. Urban Outfitters’ Conduct
20   is all the more egregious given that Urban Outfitters received notice via correspondence
21   from Stay Wavy’s legal counsel on or about May 24, 2019 regarding the unauthorized
22   use of the Stay Wavy Trademark on the Infringing Products, and Urban Outfitters
23   nonetheless continued to market and sell the Infringing Products.
24         3.     Upon information and belief, the Infringing Products are manufactured
25   and/or supplied to Urban Outfitters by Richer Poorer.
26         4.     Upon information and belief, Richer Poorer marketed the Infringing
27   Products to Urban Outfitters.
28



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1          5.    Nordstrom’s advertising, display, and sale of the Infringing Products
2    (“Nordstrom’s Conduct”) constitutes direct trademark infringement of the Stay Wavy
3    Registration. Such infringement is willful and intentional as the Stay Wavy Trademark
4    registered on March 24, 2015 (the “Registration Date”) and Nordstrom’s Conduct
5    commenced after the Registration Date.
6          6.    Upon information and belief, the Infringing Products are manufactured
7    and/or supplied to Nordstrom by Richer Poorer.
8          7.    Upon information and belief, Richer Poorer marketed the Infringing
9    Products to Nordstrom.
10         8.    Alternative Apparel’s advertising, display, and sale of the Infringing
11   Products (“Alternative Apparel’s Conduct”) constitutes direct trademark infringement
12   of the Stay Wavy Registration. Such infringement is willful and intentional as the Stay
13   Wavy Trademark registered on March 24, 2015 (the “Registration Date”) and
14   Alternative Apparel’s Conduct commenced after the Registration Date.
15         9.    Upon information and belief, the Infringing Products are manufactured
16   and/or supplied to Alternative Apparel by Richer Poorer.
17         10.   Upon information and belief, Richer Poorer marketed the Infringing
18   Products to Alternative Apparel.
19         11.   Richer Poorer’s manufacture, marketing, sale, and supply of the Infringing
20   Products to Urban Outfitters, Nordstrom, Alternative Apparel and other Third-Party
21   Retailers (“Richer Poorer’s Conduct”) constitutes direct trademark infringement and/or
22   indirect trademark infringement of the Stay Wavy Registration. Such infringement is
23   willful and intentional as it occurred after the Registration Date. Richer Poorer’s
24   Conduct is all the more egregious given that Richer Poorer received notice via
25   correspondence from Stay Wavy’s legal counsel on or about May 24, 2019 regarding
26   the unauthorized use of the Stay Wavy Trademark on the Infringing Products and Richer
27   Poorer nonetheless continued to market and sell the Infringing Products.
28   //

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1          12.   Defendants’ pattern and practice of providing, offering for sale and/or
2    selling products with marks that are identical to the products sold by Stay Wavy under
3    the Stay Wavy Trademark must end. Defendants’ misuse of the Stay Wavy Trademark
4    on the Infringing Products has significantly injured Stay Wavy’s hard-earned reputation
5    and goodwill. Defendants’ repeated actions are willful, intentional, and damaging to
6    Stay Wavy and to the Stay Wavy Trademark.
7          13.   Accordingly, Stay Wavy now brings this action against Defendants for
8    trademark infringement and for violations of the California common law and related
9    causes of action brought pursuant to Sections 32, 43(a) and 43(c) of the Lanham Act,
10   15 U.S.C. §§ 1114, 1125(a) and (c), California Business and Professions Code § 17200.
11                                         PARTIES
12         14.    Plaintiff is a corporation duly organized under the laws of the
13   Commonwealth of Massachusetts with a principal place of business located at 47 East
14   Baylies Road, Charlton, MA 01507.
15         15.   Upon information and belief, RICHER POORER LLC is a Limited
16   Liability Company organized under the laws of Delaware and having a principal place
17   of business located at 31531 Rancho Viejo Road, Suite 101, San Juan Capistrano, CA
18   92675.
19         16.   Under information and believe, URBN US Retail LLC is a Limited
20   Liability Company organized under the laws of Pennsylvania and having a principal
21   place of business located at 5000 South Broad Street, Philadelphia, PA 19112.
22         17.   Under information and believe, NORDSTROM, Inc. is a corporation
23   organized under the laws of Washington and having a principal place of business
24   located at 1700 7th Ave., Seattle, WA 98101.
25         18.   Under information and believe, ALTERNATIVE APPAREL, Inc. is a
26   corporation organized under the laws of Delaware and having a principal place of
27   business located at 1000 East Salem Mill Road, Winston Salem, NC 27105.
28   //

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1                                JURISDICTION AND VENUE
2          19.    This action is based on Section 32(1)(a) of the Lanham Act, 15 U.S.C. §
3    1114, Sections 43(a) and (c) of the Lanham Act, 15 U.S.C. § 1125(a) and (c), California
4    Business & Professions Code § 17200; and the common law of the State of California.
5          20.    This Court has subject matter jurisdiction over this action pursuant to
6    Section 39 of the Lanham Act, 15 U.S.C. § 1121 (actions arising under the Lanham
7    Act), 28 U.S.C. §§ 1331 (federal question), 1338(a) (any Act of Congress relating to
8    patents or trademarks), and 1338(b) (any action asserting claim of unfair competition
9    joined with a substantial and related claim under the trademark law) for claims arising
10   out of the violations of Sections 32(1)(a) and 43(a) and (c) of the Lanham Act. This
11   Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a) for all other claims
12   asserted in this Complaint because those claims are so closely related to the federal
13   claims asserted herein as to form part of the same case and controversy. This Court also
14   has jurisdiction over related common-law claims for unfair competition under
15   California Business & Professions Code § 17200, pursuant to 28 U.S.C. §§ 1338(b) and
16   1367(a).
17         21.    This Court has personal jurisdiction over Urban Outfitters because Urban
18   Outfitters regularly transacts, conducts, or solicits business in California and within this
19   District, or engages in other persistent courses of conduct and/or derives substantial
20   revenue from goods used or consumed or from services rendered in California; Urban
21   Outfitters regularly and systematically directs electronic activity into California with
22   the intent of engaging in business in this District; Urban Outfitters owns, uses, and/or
23   possesses real property situated in California; the products giving rise to this action were
24   offered for sale and/or sold by Urban Outfitters in California through brick-and-mortar
25   retail locations in this State and/or through the urbanoutfitters.com website, and Urban
26   Outfitters has shipped such products to consumers in California; Urban Outfitters is
27   registered with the Secretary of State to do business in California; and the unlawful,
28



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1    tortious conduct complained herein has caused injury to Plaintiff within California and
2    in this District.
3           22.    This Court has personal jurisdiction over Nordstrom because Nordstrom
4    regularly transacts, conducts, or solicits business in California and within this District,
5    or engages in other persistent courses of conduct and/or derives substantial revenue
6    from goods used or consumed or from services rendered in California; Nordstrom
7    regularly and systematically directs electronic activity into California with the intent of
8    engaging in business in this District; Nordstrom Outfitters owns, uses, and/or possesses
9    real property situated in California; the products giving rise to this action were offered
10   for sale and/or sold by Nordstrom in California through brick-and-mortar retail
11   locations in this State and/or through the shop.nordstrom.com website, and Nordstrom
12   has shipped such products to consumers in California; Nordstrom is registered with the
13   Secretary of State to do business in California; and the unlawful, tortious conduct
14   complained herein has caused injury to Plaintiff within California and in this District.
15          23.    This Court has personal jurisdiction over Alternative Apparel because
16   Alternative Apparel regularly transacts, conducts, or solicits business in California and
17   within this District, or engages in other persistent courses of conduct and/or derives
18   substantial revenue from goods used or consumed or from services rendered in
19   California; Alternative Apparel regularly and systematically directs electronic activity
20   into California with the intent of engaging in business in this District; Alternative
21   Apparel owns, uses, and/or possesses real property situated in California; the products
22   giving rise to this action were offered for sale and/or sold by Alternative Apparel in
23   California through brick-and-mortar retail locations in this State and/or through the
24   alternativeapparel.com website, and Alternative Apparel has shipped such products to
25   consumers in California; Alternative Apparel is registered with the Secretary of State
26   to do business in California; and the unlawful, tortious conduct complained herein has
27   caused injury to Plaintiff within California and in this District.
28



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1          24.    This Court has personal jurisdiction over Richer Poorer because Richer
2    Poorer’s principal place of business is within this District; Richer Poorer regularly
3    transacts, conducts, or solicits business in California and within this District, or engages
4    in other persistent courses of conduct and/or derives substantial revenue from goods
5    used or consumed or from services rendered in California; Richer Poorer regularly and
6    systematically directs electronic activity into California with the intent of engaging in
7    business in this District; the products giving rise to this action were offered for sale
8    and/or sold by Richer Poorer in California; and the unlawful, tortious conduct
9    complained of herein has caused, and continues to cause, injury to Plaintiff within
10   California and in this District.
11         25.    Venue in this Court is proper under 28 U.S.C. § 1391(b)(2) because
12   Defendants were subject to personal jurisdiction in this district at the time the action
13   was commenced, and because Defendants conduct business in this District.
14                                            FACTS
15         26.    Stay Wavy is a Massachusetts-based designer and retailer of men’s,
16   women’s, and children’s clothing and apparel.
17         27.    In addition to its retail store located on Martha’s Vineyard in
18   Massachusetts, Stay Wavy has advertised and sold its clothing online at
19   captainsclubapparel.com, staywavy.com and at amazon.com, and continues to so
20   advertise and sell its clothing line at staywavy.com and at amazon.com.
21         28.    One of the most commercially successful lines of clothing sold by Stay
22   Wavy is the line sold under the Stay Wavy Trademark.
23         29.    Stay Wavy is the owner of the Stay Wavy Trademark (U.S. Reg. No.
24   4,708,321). This registration is valid and subsisting and a declaration of incontestability
25   under Section 15 of the Lanham Act has been filed and recorded with the USPTO
26   according to 15 U.S.C. § 1065. A copy of the Section 15 filing is attached herein as
27   Exhibit B.
28



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1          30.     The Stay Wavy Trademark was originally owned by Captain’s Club
2    Apparel, Inc. (“Captain’s Club”), wherein Captain’s Club is a Massachusetts
3    corporation having a principal place of business located at 47 E. Baylies Road, Charlton,
4    MA 01507.
5          31.     Captain’s Club filed for federal trademark registration of the Stay Wavy
6    Trademark on or about August 25, 2014.
7          32.     The Stay Wavy Registration registered on March 24, 2015 for the
8    following goods and services:
9                x IC 025 for “Clothing, namely, hats, shirts, skirts, socks, sweaters,
10                 sweatshirts, sweatpants, ties, underwear, visors, belts, jackets, bathing
11                 suits” (the “Stay Wavy Goods”); and
12               x IC 035 for “Retail store services featuring clothing” (the “Stay Wavy
13                 Services”).
14         33.     As set forth in the Registration, the Stay Wavy Trademark has been used
15   on or in association with the Stay Wavy Goods and the Stay Wavy Services since at
16   least as early as October 16, 2012.
17         34.     Since at least as early as October 2012 and up until on or around April
18   2019, Captain’s Club marketed and sold the Stay Wavy Goods in combination with the
19   Stay Wavy Trademark at a retail store located a 35 Circuit Ave., Oakbluffs, MA (the
20   “Stay Wavy Retail Store”) and online at captainsclubapparel.com.
21         35.     On or around May 2019, Captain’s Club assigned the Stay Wavy
22   Registration to Stay Wavy (the “Assignment”), a copy of which is attached hereto as
23   Exhibit C.
24         36.     The Assignment was recorded with the USPTO on May 13, 2019 at
25   Reel/Frame 6643/0785 as evidenced by the Trademark Assignment Details from the
26   USPTO website which is attached hereto as Exhibit D.
27         37.     Since on or around May 2019, Stay Wavy has been using the Stay Wavy
28   Trademark on or in association with the Stay Wavy Goods, and in particular on shirts,

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1    including t-shirts, and has been marketing and selling the Stay Wavy Goods at the Stay
2    Wavy Retail Store and online at staywavy.com and at amazon.com.
3          38.    Stay Wavy and Captain’s Club have invested, and Stay Wavy continues to
4    invest, a substantial amount of time and money in advertising the Stay Wavy Goods,
5    and in doing so have generated a significant amount of goodwill in the Stay Wavy
6    Trademark.
7          39.    Upon information and belief, Richer Poorer is an apparel designer and
8    manufacturer.
9          40.    Upon information and belief, at least at some point after the Stay Wavy
10   Trademark had been registered with the USPTO, Richer Poorer designed,
11   manufactured, and marketed, sold, and/or distributed socks that bear the Stay Wavy
12   Trademark to Urban Outfitters.
13         41.    Upon information and belief, Urban Outfitters, which has both brick and
14   mortar and online retail stores, purchased the Infringing Products from Richer Poorer
15   with the intent of marketing, offering for sale, and selling the Infringing Products to
16   individual consumers.
17         42.    On or around May 2019, Stay Wavy discovered that Urban Outfitters was
18   marketing, offering for sale, selling, and distributing the Infringing Products. The
19   Infringing Products were not manufactured, packaged, or approved for sale and/or
20   distribution by Stay Wavy.
21         43.    Urban Outfitters has distributed, promoted, offered for sale, and/or sold the
22   Infringing Products without license, authority, or other permission from Stay Wavy.
23         44.    In May 2019, Stay Wavy sent a cease and desist letter (“Stay Wavy C&D
24   Letter”), a copy of which is attached hereto as Exhibit E, to Urban Outfitters regarding
25   Urban Outfitters’ Conduct, in which Stay Wavy demanded, among other things, that
26   Urban Outfitters immediately cease and desist all sale or advertising of any product
27   bearing the Stay Wavy marks and any mark confusingly similar to one or more of the
28



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1    Stay Wavy Trademark, along with the destruction of all inventory of the Infringing
2    Products (the “Urban Outfitters Inventory”).
3          45.    In a letter dated July 5, 2019, Attorney Douglas Hahn responded to the
4    Stay Wavy C&D Letter and identified himself as the legal counsel for both Urban
5    Outfitters and Richer Poorer.
6          46.    On or about July 2019, Stay Wavy was under the impression that sales
7    would cease, and that unauthorized use of the Stay Wavy marks would stop.
8          47.    Upon information and belief, Defendants continued to willfully and
9    intentionally market, offer for sale, and sell the Richer Poorer and Urban Outfitters
10   Inventory despite having received written notice from Stay Wavy that Richer Poorer’s
11   Conduct infringed the Stay Wavy Trademark, and despite having constructive notice of
12   the Stay Wavy Registration since at least as early as March 24, 2015.
13         48.    Upon information and belief, Richer Poorer continued to market, offer for
14   sale, and sold Infringing Products (“Richer Poorer Inventory”) on Richer Poorer’s own
15   website.
16         49.    Upon information and belief, Infringing Products continued to be
17   marketed, offered for sale, and sold by Nordstrom and Alternative Apparel
18   (“Nordstrom’s Conduct” and “Alternative Apparel’s Conduct,” respectively), as well
19   as other third-party retailers (“Third-Party Conduct”) after the July 5, 2019 letter from
20   Defendants’ counsel, including, but not limited to, alternativeapparel.com,
21   nordstrom.com, ironandresin.com, and obbconline.com.
22         50.    As Richer Poorer had notice of the Stay Wavy Registration since at least
23   as early as March 24, 2015, its supply of the Infringing Product to Urban Outfitters,
24   Nordstrom, Alternative Apparel, and other third-party retailers after such date
25   constitutes contributory trademark infringement as Richer Poorer knew or had reason
26   to know that Urban Outfitters’ Conduct, Nordstrom’s Conduct, Alternative Apparel’s
27   Conduct and other Third-Party Conduct constituted Trademark Infringement.
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1          51.    Despite having received written notice from Stay Wavy that Urban
2    Outfitters’ Conduct infringed the Stay Wavy Trademark, and despite having
3    constructive notice of the Stay Wavy Registration at least as early as March 24, 2015,
4    Urban Outfitters continued to willfully and intentionally infringe the Stay Wavy
5    Trademark as evidenced by the fact that on or around October 20, 2019, a pair of socks,
6    an image of which is attached hereto as Exhibit F, was still listed for sale on Urban
7    Outfitters’ website at urbanoutfitters.com.
8          52.    Despite having received written notice from Stay Wavy that Richer
9    Poorer’s Conduct infringed the Stay Wavy Trademark, and despite having constructive
10   notice of the Stay Wavy Registration at least as early as March 24, 2015, Richer Poorer
11   continued to willfully and intentionally infringe the Stay Wavy Trademark as evidenced
12   by the fact that on or around April 7, 2020, a pair of socks, an image of which is attached
13   hereto as Exhibit G, was still listed for sale on Nordstrom’s website at
14   shop.nordstrom.com, and was available for both shipping (see Exhibit H for order
15   confirmation and delivery), as well as in-store pickup in California (see Exhibit I for
16   order pickup confirmation).
17         53.    Each of Richer Poorer and Urban Outfitters marketed and sold the
18   Infringing Products despite having actual and specific knowledge of Stay Wavy’s rights
19   in the Stay Wavy Trademark and of Stay Wavy’s objection to Richer Poorer’s and
20   Urban Outfitters’ sale of the Infringing Products.
21         54.    Each of Richer Poorer’s Conduct and Urban Outfitters’ Conduct is willful,
22   intentional, and represents a conscious disregard for Stay Wavy’s rights in the Stay
23   Wavy Trademark, and each is a calculated decision to misappropriate the goodwill
24   represented by the Stay Wavy Trademark.
25         55.    Further, the fact that Richer Poorer and Urban Outfitters continued their
26   unlawful conduct by selling the Infringing Products within months of receiving Stay
27   Wavy’s cease and desist letter regarding the Infringing Products demonstrated Richer
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1    Poorer’s and Urban Outfitters’ intent to continue selling the Infringing Products without
2    regard for Stay Wavy’s intellectual property rights.
3          56.    Each of Richer Poorer’s Conduct, Urban Outfitters’ Conduct, Nordstrom’s
4    Conduct, Alternative Apparel’s Conduct, and Third-Party Conduct is likely to have
5    caused consumers to mistakenly believe that the Infringing Products are either affiliated
6    with, endorsed or authorized by, or somehow connected to Stay Wavy.
7          57.    The activities complained of herein have irreparably harmed Stay Wavy.
8    Further, each of Richer Poorer’s and Urban Outfitters’ egregious conduct makes this an
9    exceptional case.
10                               FIRST CLAIM FOR RELIEF
11                  Defendant Richer Poorer’s Trademark Infringement
12                            Under Section 32 of the Lanham Act
13         58.    Stay Wavy hereby incorporates by reference and realleges each and every
14   allegation of Paragraphs 1 through 57 above.
15         59.    Section 32(1)(a) of the Lanham Act, 15 U.S.C. § 1114(1)(a), prohibits
16   any person from using in commerce, without the consent of the registrant, any
17   trademark or any reproduction, counterfeit, copy, or colorable imitation thereof in
18   connection with the marketing, advertising, distribution, or sale of goods or services
19   which is likely to result in confusion, mistake, or deception.
20         60.    The Stay Wavy Trademark is federally registered and has achieved
21   incontestable status. The Stay Wavy mark is arbitrary and is associated in the mind of
22   the public exclusively with Stay Wavy.
23         61.    Richer Poorer has used the Stay Wavy Trademark on or in connection with
24   the Infringing Products without Stay Wavy’s consent or authorization. Richer Poorer’s
25   use, including the importation, sale, offer for sale, and/or distribution of the Infringing
26   Products in commerce, is likely to have caused confusion and mistake in the mind of
27   the public, leading the public to believe that Richer Poorer’s products emanate or
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1    originate from Stay Wavy, or that Stay Wavy has approved, sponsored, or otherwise
2    associated itself with Richer Poorer or their Infringing Products.
3          62.    Through the unauthorized use of the Stay Wavy Trademark, Richer Poorer
4    is unfairly benefiting from and misappropriating Stay Wavy’s goodwill and reputation.
5    This has resulted in substantial and irreparable injury to the public and to Stay Wavy.
6          63.    At all relevant times, Richer Poorer had actual and direct knowledge of
7    Stay Wavy’s prior use and ownership of the Stay Wavy Trademark. Richer Poorer’s
8    conduct is therefore willful and reflects Richer Poorer’s intent to exploit the goodwill
9    and strong brand recognition associated with the Stay Wavy Trademark.
10         64.    Richer Poorer’s acts constitute trademark infringement in violation of
11   Section 32 of the Lanham Act, 15 U.S.C. § 1114.
12         65.    Richer Poorer’s acts have caused, and will continue to cause, irreparable
13   injury to Stay Wavy. Stay Wavy has no adequate remedy at law and is thus damaged in
14   an amount not yet determined.
15                             SECOND CLAIM FOR RELIEF
16                 Defendant Urban Outfitters’ Trademark Infringement
17                           Under Section 32 of the Lanham Act
18         66.    Stay Wavy hereby incorporates by reference and realleges each and every
19   allegation of Paragraphs 1 through 57 above.
20         67.    Section 32(1)(a) of the Lanham Act, 15 U.S.C. § 1114(1)(a), prohibits any
21   person from using in commerce, without the consent of the registrant, any trademark or
22   any reproduction, counterfeit, copy, or colorable imitation thereof in connection with
23   the marketing, advertising, distribution, or sale of goods or services which is likely to
24   result in confusion, mistake, or deception.
25         68.    The Stay Wavy Trademark is federally registered and has achieved
26   incontestable status. The Stay Wavy mark is arbitrary and is associated in the mind of
27   the public exclusively with Stay Wavy.
28



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1          69.     Urban Outfitters has used the Stay Wavy Trademark on or in connection
2    with the Infringing Products without Stay Wavy’s consent or authorization. Urban
3    Outfitters’ use, including the importation, sale, offer for sale, and/or distribution of the
4    Infringing Products in commerce, is likely to have caused confusion and mistake in the
5    mind of the public, leading the public to believe that Urban Outfitters’ products emanate
6    or originate from Stay Wavy, or that Stay Wavy has approved, sponsored, or otherwise
7    associated itself with Urban Outfitters or their Infringing Products.
8          70.     Through the unauthorized use of the Stay Wavy Trademark, Urban
9    Outfitters is unfairly benefiting from and misappropriating Stay Wavy’s goodwill and
10   reputation. This has resulted in substantial and irreparable injury to the public and to
11   Stay Wavy.
12         71.     At all relevant times, Urban Outfitters had actual and direct knowledge of
13   Stay Wavy’s prior use and ownership of the Stay Wavy Trademark. Urban Outfitters’
14   conduct is therefore willful and reflects Urban Outfitters’ intent to exploit the goodwill
15   and strong brand recognition associated with the Stay Wavy Trademark.
16         72.     Urban Outfitters’ acts constitute trademark infringement in violation of
17   Section 32 of the Lanham Act, 15 U.S.C. § 1114.
18         73.     Urban Outfitters’ acts have caused irreparable injury to Stay Wavy. Stay
19   Wavy has no adequate remedy at law and is thus damaged in an amount not yet
20   determined.
21                               THIRD CLAIM FOR RELIEF
22                    Defendant Nordstrom’s Trademark Infringement
23                            Under Section 32 of the Lanham Act
24         74.     Stay Wavy hereby incorporates by reference and realleges each and every
25   allegation of Paragraphs 1 through 57 above.
26         75.     Section 32(1)(a) of the Lanham Act, 15 U.S.C. § 1114(1)(a), prohibits any
27   person from using in commerce, without the consent of the registrant, any trademark or
28   any reproduction, counterfeit, copy, or colorable imitation thereof in connection with

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1    the marketing, advertising, distribution, or sale of goods or services which is likely to
2    result in confusion, mistake, or deception.
3          76.    The Stay Wavy Trademark is federally registered and has achieved
4    incontestable status. The Stay Wavy mark is arbitrary and is associated in the mind of
5    the public exclusively with Stay Wavy.
6          77.    Nordstrom has used the Stay Wavy Trademark on or in connection with
7    the Infringing Products without Stay Wavy’s consent or authorization. Nordstrom’s use,
8    including the importation, sale, offer for sale, and/or distribution of the Infringing
9    Products in commerce, is likely to have caused confusion and mistake in the mind of
10   the public, leading the public to believe that Nordstrom’s products emanate or originate
11   from Stay Wavy, or that Stay Wavy has approved, sponsored, or otherwise associated
12   itself with Nordstrom or their Infringing Products.
13         78.    Through the unauthorized use of the Stay Wavy Trademark, Nordstrom is
14   unfairly benefiting from and misappropriating Stay Wavy’s goodwill and reputation.
15   This has resulted in substantial and irreparable injury to the public and to Stay Wavy.
16         79.    At all relevant times, Nordstrom had at least constructive knowledge of
17   Stay Wavy’s prior use and ownership of the Stay Wavy Trademark. Nordstrom’s
18   conduct is therefore willful and reflects Nordstrom’s intent to exploit the goodwill and
19   strong brand recognition associated with the Stay Wavy Trademark.
20         80.    Nordstrom’s acts constitute trademark infringement in violation of Section
21   32 of the Lanham Act, 15 U.S.C. § 1114.
22         81.    Nordstrom’s acts have caused irreparable injury to Stay Wavy. Stay Wavy
23   has no adequate remedy at law and is thus damaged in an amount not yet determined.
24                             FOURTH CLAIM FOR RELIEF
25               Defendant Alternative Apparel’s Trademark Infringement
26                           Under Section 32 of the Lanham Act
27         82.    Stay Wavy hereby incorporates by reference and realleges each and every
28   allegation of Paragraphs 1 through 57 above.

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1          83.    Section 32(1)(a) of the Lanham Act, 15 U.S.C. § 1114(1)(a), prohibits any
2    person from using in commerce, without the consent of the registrant, any trademark or
3    any reproduction, counterfeit, copy, or colorable imitation thereof in connection with
4    the marketing, advertising, distribution, or sale of goods or services which is likely to
5    result in confusion, mistake, or deception.
6          84.    The Stay Wavy Trademark is federally registered and has achieved
7    incontestable status. The Stay Wavy mark is arbitrary and is associated in the mind of
8    the public exclusively with Stay Wavy.
9          85.    Alternative Apparel has used the Stay Wavy Trademark on or in
10   connection with the Infringing Products without Stay Wavy’s consent or authorization.
11   Alternative Apparel’s use, including the importation, sale, offer for sale, and/or
12   distribution of the Infringing Products in commerce, is likely to have caused confusion
13   and mistake in the mind of the public, leading the public to believe that Alternative
14   Apparel’s products emanate or originate from Stay Wavy, or that Stay Wavy has
15   approved, sponsored, or otherwise associated itself with Alternative Apparel or their
16   Infringing Products.
17         86.    Through the unauthorized use of the Stay Wavy Trademark, Alternative
18   Apparel is unfairly benefiting from and misappropriating Stay Wavy’s goodwill and
19   reputation. This has resulted in substantial and irreparable injury to the public and to
20   Stay Wavy.
21         87.    At all relevant times, Alternative Apparel had at least constructive
22   knowledge of Stay Wavy’s prior use and ownership of the Stay Wavy Trademark.
23   Alternative Apparel’s conduct is therefore willful and reflects Alternative Apparel’s
24   intent to exploit the goodwill and strong brand recognition associated with the Stay
25   Wavy Trademark.
26         88.    Alternative Apparel’s acts constitute trademark infringement in violation
27   of Section 32 of the Lanham Act, 15 U.S.C. § 1114.
28



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1          89.     Alternative Apparel’s acts have caused irreparable injury to Stay Wavy.
2    Stay Wavy has no adequate remedy at law and is thus damaged in an amount not yet
3    determined.
4                                FIFTH CLAIM FOR RELIEF
5     Defendant Richer Poorer’s False Designations of Origin and False Descriptions
6                and Representations Under Section 43(a) of the Lanham Act
7          90.     Stay Wavy hereby incorporates by reference and realleges each and every
8    allegation of Paragraphs 1 through 57 above.
9          91.     Richer Poorer’s actions as alleged herein, including but not limited to its
10   unauthorized use in commerce of the Stay Wavy Trademark, constitutes use of a false
11   designation of origin and misleading description and representation of fact that is likely
12   to cause confusion, mistake, or deception as to the affiliation or connection of Richer
13   Poorer with Stay Wavy and as to the origin, sponsorship, association, or approval of
14   Defendants’ Infringing Products in violation of Section 43(a) of the Lanham Act, 15
15   U.S.C. § 1125(a).
16         92.     At all relevant times, Richer Poorer had actual and direct knowledge of
17   Stay Wavy’s prior use and ownership of the Stay Wavy Trademark. Richer Poorer’s
18   conduct is, therefore, willful and reflects Richer Poorer’s intent to exploit the goodwill
19   and strong brand recognition associated with the Stay Wavy Trademark.
20         93.     Richer Poorer’s wrongful acts will continue unless enjoined by this Court.
21         94.     Richer Poorer’s acts have caused irreparable injury to Stay Wavy. Stay
22   Wavy has no adequate remedy at law and is thus damaged in an amount not yet
23   determined.
24                               SIXTH CLAIM FOR RELIEF
25       Urban Outfitters’ False Designation of Origin and False Descriptions and
26                 Representations Under Section 43(a) of the Lanham Act
27         95.     Stay Wavy hereby incorporates by reference and realleges each and every
28   allegation of Paragraphs 1 through 57 above.

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1             96.   Urban Outfitters’ actions as alleged herein, including but not limited to its
2    unauthorized use in commerce of the Stay Wavy Trademark, constitutes use of a false
3    designation of origin and misleading description and representation of fact that is likely
4    to cause confusion, mistake, or deception as to the affiliation or connection of Urban
5    Outfitters with Stay Wavy and as to the origin, sponsorship, association, or approval of
6    Defendants’ Infringing Products in violation of Section 43(a) of the Lanham Act, 15
7    U.S.C. § 1125(a).
8             97.   At all relevant times, Urban Outfitters had actual and direct knowledge of
9    Stay Wavy’s prior use and ownership of the Stay Wavy Trademark. Urban Outfitters’
10   conduct is, therefore, willful and reflects Urban Outfitters’ intent to exploit the goodwill
11   and strong brand recognition associated with the Stay Wavy Trademark.
12            98.   Urban Outfitters’ wrongful acts will continue unless enjoined by this
13   Court.
14            99.   Urban Outfitters’ acts have caused irreparable injury to Stay Wavy. Stay
15   Wavy has no adequate remedy at law and is thus damaged in an amount not yet
16   determined.
17                              SEVENTH CLAIM FOR RELIEF
18            Nordstrom’s False Designation of Origin and False Descriptions and
19                  Representations Under Section 43(a) of the Lanham Act
20            100. Stay Wavy hereby incorporates by reference and realleges each and every
21   allegation of Paragraphs 1 through 57 above.
22            101. Nordstrom’s actions as alleged herein, including but not limited to its
23   unauthorized use in commerce of the Stay Wavy Trademark, constitutes use of a false
24   designation of origin and misleading description and representation of fact that is likely
25   to cause confusion, mistake, or deception as to the affiliation or connection of
26   Nordstrom with Stay Wavy and as to the origin, sponsorship, association, or approval
27   of Defendants’ Infringing Products in violation of Section 43(a) of the Lanham Act, 15
28   U.S.C. § 1125(a).

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1             102. At all relevant times, Nordstrom had knowledge of Stay Wavy’s prior use
2    and ownership of the Stay Wavy Trademark. Nordstrom’s conduct is, therefore, willful
3    and reflects Urban Outfitters’ intent to exploit the goodwill and strong brand recognition
4    associated with the Stay Wavy Trademark.
5             103. Nordstrom’s wrongful acts will continue unless enjoined by this Court.
6             104. Nordstrom’s acts have caused irreparable injury to Stay Wavy. Stay Wavy
7    has no adequate remedy at law and is thus damaged in an amount not yet determined.
8                                EIGHTH CLAIM FOR RELIEF
9      Alternative Apparel’s False Designation of Origin and False Descriptions and
10                  Representations Under Section 43(a) of the Lanham Act
11            105. Stay Wavy hereby incorporates by reference and realleges each and every
12   allegation of Paragraphs 1 through 57 above.
13            106. Alternative Apparel’s actions as alleged herein, including but not limited
14   to its unauthorized use in commerce of the Stay Wavy Trademark, constitutes use of a
15   false designation of origin and misleading description and representation of fact that is
16   likely to cause confusion, mistake, or deception as to the affiliation or connection of
17   Alternative Apparel with Stay Wavy and as to the origin, sponsorship, association, or
18   approval of Defendants’ Infringing Products in violation of Section 43(a) of the Lanham
19   Act, 15 U.S.C. § 1125(a).
20            107. At all relevant times, Alternative Apparel had knowledge of Stay Wavy’s
21   prior use and ownership of the Stay Wavy Trademark. Alternative Apparel’s conduct
22   is, therefore, willful and reflects Alternative Apparel’s intent to exploit the goodwill
23   and strong brand recognition associated with the Stay Wavy Trademark.
24            108. Alternative Apparel’s wrongful acts will continue unless enjoined by this
25   Court.
26            109. Alternative Apparel’s acts have caused irreparable injury to Stay Wavy.
27   Stay Wavy has no adequate remedy at law and is thus damaged in an amount not yet
28   determined.

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1                               NINTH CLAIM FOR RELIEF
2         Defendant Richer Poorer’s Trademark Infringement Under Common Law
3            110. Stay Wavy hereby incorporates by reference and realleges each and every
4    allegation of Paragraphs 1 through 57 above.
5            111. By the acts described above, Richer Poorer has engaged in trademark
6    infringement in violation of the common law of the State of California.
7            112. Richer Poorer’s acts have caused irreparable injury to Stay Wavy. Stay
8    Wavy has no adequate remedy at law and is thus damaged in an amount not yet
9    determined.
10                              TENTH CLAIM FOR RELIEF
11        Defendant Urban Outfitters’ Trademark Infringement Under Common Law
12           113. Stay Wavy hereby incorporates by reference and realleges each and every
13   allegation of Paragraphs 1 through 57 above.
14           114. By the acts described above, Urban Outfitters has engaged in trademark
15   infringement in violation of the common law of the State of California.
16           115. Urban Outfitters’ acts have caused irreparable injury to Stay Wavy. Stay
17   Wavy has no adequate remedy at law and is thus damaged in an amount not yet
18   determined.
19                           ELEVENTH CLAIM FOR RELIEF
20          Defendant Nordstrom’s Trademark Infringement Under Common Law
21           116. Stay Wavy hereby incorporates by reference and realleges each and every
22   allegation of Paragraphs 1 through 57 above.
23           117. By the acts described above, Nordstrom has engaged in trademark
24   infringement in violation of the common law of the State of California.
25           118. Nordstrom’s acts have caused irreparable injury to Stay Wavy. Stay Wavy
26   has no adequate remedy at law and is thus damaged in an amount not yet determined.
27   //
28   //

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1                             TWELFTH CLAIM FOR RELIEF
2     Defendant Alternative Apparel’s Trademark Infringement Under Common Law
3          119. Stay Wavy hereby incorporates by reference and realleges each and every
4    allegation of Paragraphs 1 through 57 above.
5          120. By the acts described above, Alternative Apparel has engaged in trademark
6    infringement in violation of the common law of the State of California.
7          121. Alternative Apparel’s acts have caused irreparable injury to Stay Wavy.
8    Stay Wavy has no adequate remedy at law and is thus damaged in an amount not yet
9    determined.
10                          THIRTEENTH CLAIM FOR RELIEF
11          Defendant Richer Poorer’s Contributory Trademark Infringement
12         122. Stay Wavy hereby incorporates by reference and realleges each and every
13   allegation of Paragraphs 1 through 57 above.
14         123. Urban Outfitters, Nordstrom, Alternative Apparel, and other third-party
15   retailers engaged in illegal conduct including, but not necessarily limited to, the
16   promotion, advertisement, offer for sale, sale and distribution of Infringing Products in
17   violation of the Lanham Act.
18         124. Richer Poorer had actual knowledge of Urban Outfitters’ illegal conduct
19   from, among other things, written notification by Stay Wavy’s legal counsel.
20         125. Richer Poorer deliberately disregarded these notifications.
21         126. Richer Poorer materially encouraged, enabled, and contributed to Urban
22   Outfitters’, Nordstrom’s, Alternative Apparel’s, and other third-party retailers’
23   infringing conduct by providing each with Infringing Products.
24         127. Richer Poorer, therefore, bears contributory liability for the infringement
25   of the Stay Wavy Trademark under 15 U.S.C. § 1051, et seq. and the common law.
26         128. Stay Wavy has no adequate remedy at law and has suffered irreparable
27   harm and damage as a result of Richer Poorer’s contributory trademark infringement.
28   //

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1                           FOURTEENTH CLAIM FOR RELIEF
2                           Defendant Richer Poorer’s Violation of
3                      California Business & Professions Code § 17200
4          129. Stay Wavy hereby incorporates by reference and realleges each and every
5    allegation of Paragraphs 1 through 57 above.
6          130. Richer Poorer is a limited liability company operating and conducting
7    business in the State of California.
8          131. Richer Poorer’s misappropriation and use of the Stay Wavy Trademark
9    constitutes unlawful, unfair and fraudulent business practices within the meaning of
10   California Business & Professions Code § 17200.
11         132. As a result of Richer Poorer’s violation of § 17200, Stay Wavy has no
12   adequate remedy at law and has suffered irreparable harm and damage.
13                              FIFTEENTH CLAIM FOR RELIEF
14                         Defendant Urban Outfitters’ Violation of
15                     California Business & Professions Code § 17200
16         133. Stay Wavy hereby incorporates by reference and realleges each and every
17   allegation of Paragraphs 1 through 57 above.
18         134. Urban Outfitters is a corporation licensed to do business, and operating in,
19   the State of California.
20         135. Urban Outfitters’ misappropriation and use of the Stay Wavy Trademark
21   constitutes unlawful, unfair and fraudulent business practices within the meaning of
22   California Business & Professions Code § 17200.
23         136. As a result of Urban Outfitters’ violation of § 17200, Stay Wavy has no
24   adequate remedy at law and has suffered irreparable harm and damage.
25   //
26   //
27   //
28   //

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1                              SIXTEENTH CLAIM FOR RELIEF
2                               Defendant Nordstrom’s Violation of
3                       California Business & Professions Code § 17200
4          137. Stay Wavy hereby incorporates by reference and realleges each and every
5    allegation of Paragraphs 1 through 57 above.
6          138. Nordstrom is a corporation licensed to do business, and operating in, the
7    State of California.
8          139. Nordstrom’s misappropriation and use of the Stay Wavy Trademark
9    constitutes unlawful, unfair and fraudulent business practices within the meaning of
10   California Business & Professions Code § 17200.
11         140. As a result of Nordstrom’s violation of § 17200, Stay Wavy has no
12   adequate remedy at law and has suffered irreparable harm and damage.
13                           SEVENTEENTH CLAIM FOR RELIEF
14                          Defendant Alternative Apparel’s Violation of
15                      California Business & Professions Code § 17200
16         141. Stay Wavy hereby incorporates by reference and realleges each and every
17   allegation of Paragraphs 1 through 57 above.
18         142. Alternative Apparel is a corporation licensed to do business, and operating
19   in, the State of California.
20         143. Alternative Apparel’s misappropriation and use of the Stay Wavy
21   Trademark constitutes unlawful, unfair and fraudulent business practices within the
22   meaning of California Business & Professions Code § 17200.
23         144. As a result of Alternative Apparel’s violation of § 17200, Stay Wavy has
24   no adequate remedy at law and has suffered irreparable harm and damage.
25   //
26   //
27   //
28   //

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1                                    PRAYER FOR RELIEF
2          Wherefore, Plaintiff Stay Wavy prays this Court for the following relief:
3          1.      Preliminarily and permanently enjoin Defendants from using the Stay
4    Wavy Trademark or any colorable imitation thereof;
5          2.      Preliminarily and permanently enjoin Defendants from using any
6    trademark that imitates or is confusingly similar to the Stay Wavy Trademark, or that is
7    likely to cause confusion, mistake, deception, or public misunderstanding as to the
8    origin of Plaintiff’s Goods or their connectedness to Defendants;
9          3.      That the Defendants be required to file with the Court and serve on Plaintiff
10   within thirty (30) days after the entry of the Injunction, a report in writing under oath
11   setting forth in detail the manner and form in which Defendants have complied with the
12   Injunction;
13         4.      That all of the Urban Outfitters Inventory, Third-Party Inventory and
14   Richer Poorer Inventory (collectively, “Infringing Inventory”) be placed within
15   Plaintiff’s possession at the sole cost of Defendants;
16         5.      That, pursuant to 15 U.S.C. § 1117, Defendants be held liable for all
17   damages suffered by Plaintiff resulting from the acts alleged herein;
18         6.      That, pursuant to 15 U.S.C. § 1117, Defendants be compelled to account
19   to Plaintiff for any and all profits derived by it from its illegal acts complained of herein;
20         7.      That pursuant to 15 U.S.C. § 1117(a), Stay Wavy be awarded three times
21   the greater of:
22                 A. Stay Wavy’s damages, in an amount to be determined at trial; and
23                 B. Each of Defendants’ profits, in accounting demanded in the preceding
24                     paragraph;
25         8.      That Defendants be ordered pursuant to 15 U.S.C. § 1118 to deliver up for
26   inspection all items and/or materials in the possession, custody or control of Defendants
27   and which bear the Stay Wavy Trademark;
28   //

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1          9.     That Stay Wavy have and recover its costs, including its reasonable
2    attorneys’ fees and disbursements in this action, pursuant to 15 U.S.C. § 1117(a);
3          10.    That pursuant to California Civil Code § 3294, Plaintiff be awarded
4    exemplary damages, attorneys’ fees, and costs;
5          11.    That Plaintiff be awarded punitive damages pursuant to the law of the State
6    of California in view of Defendants’ intentional and willful infringement of the Stay
7    Wavy Trademark;
8          12.    That this Court grant Plaintiff any other remedy to which it may be entitled
9    as provided for under state or federal law; and
10         13.    For such other relief as the Court deems just and proper.
11

12         Date: April 23, 2020               NOLI IP SOLUTIONS P.C.
13                                                 By: /S/Mariana Paula Noli
14
                                                       Mariana Paula Noli, Esq.
                                                       CA State Bar 247369
15                                                     Attorney for Plaintiffs
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